              Case 2:15-cv-01483-JLR Document 537 Filed 11/20/20 Page 1 of 3



 1                                                              The Honorable James L. Robart

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 8                                  UNITED STATES DISTRICT COURT

 9                                WESTERN DISTRICT OF WASHINGTON
10                                          AT SEATTLE

11     KATHERINE MOUSSOURIS, HOLLY
       MUENCHOW, and DANA PIERMARINI, on
12     behalf of themselves and a class of those
       similarly situated,
13                                                   Case No. 2:15-cv-01483-JLR
                           Plaintiffs,
14                                                   JOINT STATUS REPORT
              v.
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       MICROSOFT CORPORATION,
16
                           Defendant.
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     JOINT STATUS REPORT                                  ORRICK, HERRINGTON & SUTCLIFFE LLP
     Case No. 2:15-CV-01483-JLR                                  701 Fifth Avenue, Suite 5600
                                                               Seattle, Washington 98104-7097
                                                                        +1-206-839-4300
              Case 2:15-cv-01483-JLR Document 537 Filed 11/20/20 Page 2 of 3



 1                                     JOINT STATUS REPORT

 2            As counsel of record in this matter, the undersigned hereby submit this Joint Status

 3    Report pursuant to this Court’s November 17, 2020 Order for Joint Status Report (ECF 536).

 4    Counsel agree that (1) class certification having been denied and that denial affirmed on appeal

 5    and (2) the three Plaintiffs having dismissed their claims with prejudice, no claims remain

 6    before the Court and the case may be closed.

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 8    Dated: November 20, 2020                  ORRICK, HERRINGTON & SUTCLIFFE LLP
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                                                 MICROSOFT CORPORATION
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                                                                                  +1-206-839-4300
              Case 2:15-cv-01483-JLR Document 537 Filed 11/20/20 Page 3 of 3



 1    Dated: November 20, 2020

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